
676 S.E.2d 50 (2009)
STATE of North Carolina
v.
Travis D. MILLER.
No. 93P09.
Supreme Court of North Carolina.
March 19, 2009.
Travis Miller, Pro Se.
Kathleen N. Bolton, Assistant Attorney General, Garry W. Frank, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 2nd day of March 2009 in this matter for a writ of certiorari to review the order of the Superior Court, Davidson County, the following order was entered and is hereby certified to the Superior Court of that County:
"Dismissed by order of the Court in conference, this the 19th day of March 2009."
